Case:18-10965-TBM Doc#:56 Filed:03/23/18   Entered:03/26/18 13:34:02 Page1 of 2
      Case:18-10965-TBM Doc#:56 Filed:03/23/18                                            Entered:03/26/18 13:34:02 Page2 of 2


ORDERS:

[X] The Section 105(d)(1) Status and Scheduling Conference was convened.

[X] Upon the Debtor’s filing of an Amended Listing Agreement which would include the sale price for
the Real Property, the disclosure and identification of the Lender’s lien against the Real Property, the
reduced commission, and the nature of the Broker’s agency as Seller’s Broker, the Court will review the
Application and consider approving the Broker’s employment on such terms.

Date: March 23, 2018                                                                 FOR THE COURT:
                                                                                     Kenneth S. Gardner, Clerk of Bankruptcy Court
 IT IS SO ORDERED:


 ____________________________________________                                        __________________________________________
 Honorable Thomas B. McNamara,                                                       By: Anne E. R. Tunnell, Law Clerk
 United States Bankruptcy Judge




       ☒This hearing is considered evidentiary for statistical reporting purposes only.
